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                             UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

    IN RE:         ALBERT ANDERSON                                  Chapter 13
                   LAURA ANDERSON,

                                   Debtors                          Bky. No. 16-15968 ELF

                                                ORDER

           AND NOW, the Debtor's chapter 13 plan having been confirmed by Order dated

    February 21,2017;

           AND, upon consideration of the Application for Compensation filed by the Debtor's

    counsel ("the Applicant"), in which the Applicant requested the allowance of compensation in

    the amount of $5,445.00;

           AND, upon the Applicant's certification that proper service has been made on all

    interested parties and upon the Applicant's certification of no response;

           AND, notwithstanding the absence of an objection to the request for compensation, the

    Court of Appeals having held that the bankruptcy court "has a duty to review fee applications,

    notwithstanding the absence of objections by the United States trustee ..., creditors, or any other

    interested party, a duty which . .. derives from the court's inherent obligation to monitor the

    debtor's estate and to serve the public interest," In re Busv Beaver Bide. Centers. Inc.. 19 F.3d

    833, 841 (3d Cir. 1994) (emphasis in original);

           AND, the court finding it appropriate to make disallow, in part, the Applicant's request

    for compensation, due to the inadequate description of the services rendered by counsel,' as


           '           L.B.R. 2016-3(a)(l) (requiring applications to include a description of services
                                                                                               (continued...)

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    summarized in more detail on the attaehed Appendix;^




            It is therefore ORDERED that:

    1. The Application is GRANTED IN PART AND DENIED IN PART.

    2. Compensation is ALLOWED in favor of the Applicant in the amount of $ 4.143.00 .

    3. The Chapter 13 Trustee chapter 13 is authorized to distribute to the Applicant as an

        administrative expense pursuant to 11 U.S.C. §1326(b), 11 U.S.C. §507,11 U.S.C. §503(b)

        and 11 U.S.C. §330(a)(4)(B), the allowed compensation set forth in ^2 less $ 1.782.00

        which was paid by the Debtor prepetition, to the extent such distribution is authorized under

        the terms of the confirmed chapter 13 plan.




    Date:    February 28.2017
                                                      ERIC L. FRANK
                                                      CHIEF U.S. BANKRUPTCY JUDGE



             '(...continued)
    performed that identifies each service separately in sufficient detail to allow evaluation of the benefit
    derived from the service, the date each service was performed and the time expended); see also In re
    Green Vallev Beer. 281 B.R. 253, 259 (Bankr. W.D. Pa. 2002) ("Courts have refused repeatedly to
    approve unitemized disbursements for services that are lumped together in a single entry, because such
    action inhibits the court from estimating the reasonableness of the individual services and their value to
    the debtor's estate"); In re Jefsaba. 172 B.R. 786, 801 (Bankr. E.D. Pa. 1994) (only time entries
    separately listed and explained in detail are compensable).



            ^      The Appendix consists of the Applicant's time records, which I have annotated to
    itemize the compensation that I have disallowed.

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    Legal Fees Breakdown

    Albert & Laura Anderson (16-15968ELF'^

    Attorneys ($335.00/hour billed in tenths of an hour):
    Brad J. Sadek, Esq.
    Matthew H. Lazarus, Esq.
    Patrick J. Cooper, Esq.
            15 Hours X $335.00/hour = $5,025.00

    Paralegals ($125.00/hour billed in tenths of an hour):
          4.2 Hours X $125.OO/hour = $420.00


    Total: $5,025.00 + $420.00 = $5,445.00
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   JAN 16,201/10:26AM              Best Case Bankruptcy Case Notes
                                                Anderson, Laura & Albert                                                           I

   Note Subject                                   User Name                      Created

   .2 ICE and OGE to d                            BJS                            1/13/17
         regarding creditors in Plan and plan duration
   .5: Amend Ch. 13 Plan                          MHL                            1/06/17

   .3 ICE and OGE to ci                           BJS                            1/03/17          (£>."Sv;               icd, CO
   .4: File Amended Plan/Ltr to client            KMC                           12/27/16

   .2 review claims                               BJS                           12/23/16

   .3 ICE and OGE to opc                          BJS                           12/23/16                                  IrO^.CC
   .2 ICE and OGE tod                             BJS                           12/12/16
         no pmts to pella outside plan
   .3 OC to wells fargo re: pella poc             BJS                           12/12/16
         V\i poc, amd poc to be filed today
   .1 email to opc                                BJS                           12/08/16
         remove arrears from poc the will sign stip
   .3 review stip and poc                         BJS                           12/08/16

   .4 OC to wells                               BJS                             12/07/16
         poc claim 15-1 reduced to 3,000 co-debtor not liable
   .3 ICE and OGE to opc                        BJS                             12/07/16
         2nd mort agreed to 15,000 as secured
   .2 OGE to opc                                  BJS                           12/06/16
         offer 13k
   .6 ICE and OGE to cl                           BJS                           12/05/16         (P.4 ^                -^1, 0 o

   .2 ICE from opc                                BJS                           12/05/16                                  ^7 0.
   .2 ICE and OGE                                 BJS                           12/01/16
         re: tax retums not part of plan
   .1 ICE from Ci                             BJS                              12/01/16
         not providing Income and Expense sheets until a counter from opc re: 2nd mort
   .4 3 ICE'S from cl                            BJS                           11/30/16
          wants us to communicate directly with H, will send updated Income and expense sheets
   .6 email tool                                  BJS                           11/29/16
         re: appraisal
   .2 0GEtoopc                                    BJS                           11/29/16           CP. >0

   .4 OC to cl                                      BJS                             11/29/16
           discussed appraisal, will reach out to opc to negotiate secured portion of 2nd mort, d notworking need new income and
           exp sheets
   .3 ICE review appraisal                        BJS                           11/29/16

   .lOGEtocI                                    BJS                             11/16/16
       re: offer and need appraisal for our counter

                                                                                                         (.60
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                                  JAN 16,2017 10:25AM              Best Case Bankruptcy Case Notes
 Ti»t       ,                                                                Anderson, Laura & Albert
                                 Note Subject                                  User Name                  Created

                                 .3 ICE and OGE to opc                         BJS                       11/16/16
                                        re: poss adv and appraisal
                                 .2 OGE to cl                                  BJS                       11/16/16
                                      status of appraisal?
                                  .3 OGE to opc                                BJS                       11/16/16
                                       re: will get appraisa
                                       resolution of poc?
                                  .1 00 to opc                                 BJS                       11/14/16
                                        case mgmt cancelled
a^.yo                 67          .2 00 to OH re; case mgmt conf               BJS                       11/14/16

0s yo                 67 ot)      .210 from OPC                                BJS                       11/14/16

                     i.*0.        .3 00 to case mgmt                           BJS                       11/10/16
0.ZO

0s-^                 <47. oO      .2 00 to opc                                 BJS                       11/10/16

                                  .3: Confirmation review                      MHL                       11/04/16

                                  .4 sugg of bk filed                          BJS                       11/03/16

                                  .3 OGE                                       MHL                       11/03/16
ID.>v«)             [06. ^
                                  2.1: 341 Travel/attendance                   MHL                       10/26/16

                                  .1 OC for 341Reminder                        JLG                       10/25/16

                                  .3:10 from client re car/RE                  MHL                       10/11/16

                                  .3: 00 to client                              KMC                      10/03/16
                                         Went to continued
                                                 £         hearing. Asked us to email from now on.
                                  .3: Resched 341 Ltr to clients                KMC                        9/30/16

<p,?o               61            .2 ICE and OGE to cl                         BJS                         9/29/16


                    ay.ch)        .2 ICE and OGE to cl                         BJS                         9/29/16

                                  .4; Upload 341 docA.tr to client             KMC                         9/20/16

                                  .210 emails from cl for 341 docs             BJS                         9/15/16

c-yo               loO.^          ,3: obj rev                                  MHL                         9/15/16

                                  .3 00 to cl                                  BJS                         9/12/16
                                        re: co -debtor liability
C/'2>                             .2 00 tod                                    BJS                         9/09/16
                                        Ivm
                                  .3 341 Prep                                  RAS                         9/09/16


                                                                   $10},.^
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                            JAN 16,2017 10;25AM                 Best Case Bankruptcy Case Notes
                                                                      Anderson, Laura & Albert
                            Note Subject                               User Name         Created
huilfMj
                            .5; File Petition/Send TT Pymnt Ltr        KMC                8/24/16

               Zl'SV        .3: Pre-filing updates                     KMC                8/24/16

                            .5 meet with el's prior to filing          BJS                8/17/16

                            1.4: Petition prep                         KMC                8/10/16

                ^rr €tJ -2 PIF tetter to client                         RAS               6/22/16

                            .2IC from cl                                BJS               5/27/16

                            1.3 meet with eland file setup              BJS               5/27/16




                              "x) Li <11^ s                        ^           3,
